                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                        DOCKET NO. 3:14-CR-229-MOC-DCK

UNITED STATES OF AMERICA,                    )
                                             )
                   Plaintiff,       )
                                    )
v.                                  )                           ORDER
                                    )
AHKEEM T. MCDONALD,                 )
                                    )
                Defendant.          )
____________________________________)


       THIS MATTER IS BEFORE THE COURT on “Defendant’s Request For Government

To Provide Rule 16 Discovery To Defense” (Document No. 153) and “Defendant’s Request For

Government To Provide Brady and Giglio Material Reasonably In Advance Of Trial” (Document

No. 154), both filed by the Defendant, Ahkeem T. McDonald, on May 11, 2015.                The Court notes

that the Government has filed no response to either of these discovery motions, and the Court

would be aided in its decision on the motions by a written response by the Government.

       IT IS, THEREFORE, ORDERED that the Government shall file a written response to

the aforementioned motions (Document Nos. 153 and 154) on or before August 18, 2015.

       SO ORDERED.

                                        Signed: August 11, 2015




                                        SEALED DOCUMENT with access to Specified Parties/Plaintiff.




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